
In re Singer, Donald et al.; Singer, ll-ene; — Plaintiff(s); Applying For Writ of *874Certiorari and/or Review, Parish of Tangi-pahoa, 21st Judicial District Court Div. B, Nos. 9804048, 2000-001707, 2000-001708, 2000-001709, 2000-001710, 2000-001711, 2000-001712, 2000-001713, 2000-001714, 2000-001715; to the Court of Appeal, First Circuit, Nos. 2008 CA 1562, 2008 CA 1563, 2008 CA 1564, 2008 CA 1565, 2008 CA 1566, 2008 CA 1567, 2008 CA 1568, 2008 CA 1569, 2008 CA 1570, 2008 CA 1571.
Denied.
